Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 1 of 23. PageID #: 165884




                               EXHIBIT 289
              Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 2 of 23. PageID #: 165885




                   ABC Diversion Control Program
                      effective June 25, 2007




    Steve Mays
    Senior Director - Corporate Security & Regulatory Affairs                                                                                                  Exhibit:              007
                                                                                                                                                                Amerisource Bergen
    AmerisourceBergen Corporation                                                                                                                                ZIMMERMAN
                                                                                                                                                                August 3, 2018
                                                                                                                                                               Reporter: Amanda Miller. CRR




       Copyright 2007 - AmerisourceBergen - Not to be duplicated in whole or in part without the express written permission of AmerisourceBergen Corporation
CONFIDENTIAL                                                                                                                                ABC-MSAGCOOOOO 101
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000101
               Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 3 of 23. PageID #: 165886




    Regulatory Responsibility

       Title 21 of the Code of Federal Regulations:


           1301.71(a) - "All applicants and registrants
           shall provide effective controls and procedures to
           guard against theft and diversion of controlled
           substances."



          Distributor Response: Develop policy to ....



                                                                               -2-
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENT I AL                                                                                                                              ABC-MSAGC00000102
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000102
               Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 4 of 23. PageID #: 165887




    HOW?
       Distributors usually implement policies that mirror the
        Code of Federal Regulations' requirements:

       1301. 72 - Physical Security Controls - vault/ cage construction
         and alarm system requirements - No Problem

       1304 - Records and Reports of Registrants - information,
         maintenance, and inventory requirements - No Problem

       1305 - Orders For Schedule I & II Controlled Substances -
         ordering, filling, executing, and endorsing DEA Forms 222 - No
         Problem

       1301.74- Other Security Controls - make a good faith inquiry;
         report suspicious orders; report significant losses - gray area



                                                                                -3-
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000103
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000103
              Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 5 of 23. PageID #: 165888




    Regulatory Responsibility

       Title 21 of the Code of Federal Regulations:


           1301.74(b) - "The registrant shall design and operate a
           system to disclose to the registrant suspicious
           orders of controlled substances. The registrant shall
            inform Field Diversion Office of the Administration in
            his area of suspicious orders when discovered by the
            registrant."




                                                                               -4-
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in cart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000104
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000104
              Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 6 of 23. PageID #: 165889




    Regulatory Responsibility

              ~ Reporting suspicious orders to DEA does NOT
               relieve the distributor of the responsibility to maintain
               effective controls to prevent diversion.

              ~ DEA cannot/ will not tell a distributor:
                   - if an order is or is not legitimate; and/or
                   - if the distributor should or should not ship an order

              ~ Distributor must make a "business" decision
               whether or not to ship the order.




                                                                               -5-
       Coovriaht 2007 -AmerisourceBeraen - Not to be duolicated in whole or in cart without the exoress written oermission of AmerisourceBeraen Coroora1ion
CONFIDENTIAL                                                                                                                               ABC-MSAGCOOOOO 105
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                              ABDCMDL00000105
              Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 7 of 23. PageID #: 165890




    ABC's Diversion Control Program


          ~ "Know Your Customer" Due Diligence

          ~ 48-Hour Reporting

          ~ Order Monitoring Program (OMP)

          ~ Investigations

          ~ Education and Training


                                                                               -6 -
       Coovrioht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000106
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000106
              Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 8 of 23. PageID #: 165891




    New Customer Due Diligence


           ~ "Know Your Customer" Due Diligence investigations
            completed on all new Retail and Distributor Accounts.
             - Retail chain pharmacies are exempted.


           ~ Included in New Account Setup Process
             - New Account Questionnaire (CSRA Form 590)
             - On-site visit includes photographs inside and out
               (or physical description of premises)




                                                                                -7-
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000107
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000107
               Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 9 of 23. PageID #: 165892




    New Customer Due Diligence


           ~ Monthly Sales Limits
             - All new accounts set at the lowest threshold level
              for DEA business type in ABC's Order Monitoring
              Program (OMP)

           ~ "Do Not Ship" List
             - Customers to whom ABC has ceased distribution to
               due to suspicious activity
             - Other sources



                                                                               -8-
       Coovriaht 2007 -AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                               ABC-MSAGC00000108
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                              ABDCMDL00000108
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 10 of 23. PageID #: 165893




    Order Monitoring Program (OMP)

             ~ The Controlled Substances/Listed Chemicals Order
              Monitoring Program (OMP) was developed to
              identify suspicious orders and purchasing trends.

             ~ Historically Controlled Substance/ Listed Chemical
              order monitoring has been based on a ship and
              report process.

             ~ ABC's OMP process is now based on:
              identify, capture, investigate, and report suspicious
              orders; all prior to shipment.


                                                                               -9 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000109
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000109
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 11 of 23. PageID #: 165894




    OMP Customer Account Type and Size


       ~ Each Customer is classified by "Customer Type," which
        represents how the customer is registered with DEA.
          -Hospital/Clinic, Retail Pharmacy, Distributor, etc.
           - This value is loaded using the NTIS Database synch process.



       ~ Each customer is then categorized by "Customer Size"
        based upon average revenue relative to its peers in the
        same "Customer Type."




                                                                               -10 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGCOOOOO 110
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000110
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 12 of 23. PageID #: 165895




    OMP Item Family and Threshold



       ~ All controlled substance and listed chemical products
        are grouped into item "families" based upon the drug's
        active ingredient, which has a corresponding Generic
         Code Number (GCN).


       ~ The OMP will combine all sales of items within the
        same GCN family (e.g., hydrocodone / vicodin;
        oxycodone I percocet; Alprazolam / Xanax), for each
        customer.


                                                                               - 11 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000111
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000111
              Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 13 of 23. PageID #: 165896




    OMP Item Family and Threshold



       ~ Item threshold levels are established from
        accumulated monthly sales for all customers based on
        item family, DEA type, and customer size.


       ~ A customer's threshold level is initially set by item
        family based on the customer's DEA type and
        customer size.




                                                                               - 12 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in nart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000112
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000112
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 14 of 23. PageID #: 165897




    OMP Order Processing


     ~ A customer's incoming orders are accumulated by item
       family, and the total item family order quantity is applied
       to the predetermined Item family monthly threshold.


     ~ If the order quantity falls below the Item family threshold,
       the order will process normally.




                                                                              - 13 -
       Coovrioht 2007 -AmerisourceBeroen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeroen Corooration
CONFIDENTIAL                                                                                                                               ABC-MSAGC00000113
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                              ABDCMDL00000113
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 15 of 23. PageID #: 165898




    OMP Order Processing

     ~ If the order quantity goes over the item family threshold,
       the order will be placed into "OMP Review."

     ~ All subsequent orders within the same item family will be
       rejected while an item within the same family is under
       review.

     ~ Each distribution center (DC) is responsible for initial
       review of all orders in OMP Review.
       - If the DC can determine the order is not suspicious, the DC will
         release the order.
       - If the DC is unsure, the order will be flagged to be investigated by
         Corporate (CSRA).



                                                                               - 14 -
       Coovriaht 2007 - AmerisourceBeroen - Not to be duolicated in whole or in cart without the exoress written oermission of AmerisourceBeroen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000114
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000114
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 16 of 23. PageID #: 165899




    OMP Order Processing


       ~ All OMP orders that the DC released, as well as those
         flagged for CSRA Review, are sent to CSRA each
         morning.

       ~ Based upon information available to CSRA, flagged
         orders will either be released or placed in "Investigate"
         status.

       ~ All orders placed into Investigate status are
         electronically reported to DEA on a daily basis.



                                                                               - 15 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000115
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000115
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 17 of 23. PageID #: 165900




    OMP Order Processing


       ~ CSRA conducts the investigation and will notify the
         distribution center of the final disposition of the order
         (release or cancel).


       ~ CSRA will also determine if any permanent action
         needs to be taken with the customer.
           - Customers who have legitimate needs will have their size or
             threshold levels increased.
           - Customers with continued suspicious ordering patterns may
             have their ability to order control substances effected.



                                                                               - 16 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in cart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGCOOOOO 116
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000116
               Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 18 of 23. PageID #: 165901




                                                  Order Monitoring Process
                                                          (OMP)




      Customer Submits
           Or~er



                                                                                        Business Rules:
                                                                              ·•I    -DEA Business Type
                                                                                        • Account Size
                                                                                    ~ Usage Based on other
                                                                                     Like Business Types
                                                                                      -By GCN, by Dose




                                                                                                                                                    t:l!li®!A\

                                                                                          Transfer
                                                                                                              DC Staff
                                                                                                                                              1     l~i1tt
                                                                                          Order to e-----,.,--..w.--'-'---.-No Action Take    ![:lllit1          1



                                                                                          Hold Fila
                                                                                                                                              r•;1iJJ.
                              Report
                                                                                                                                                  I·.· :;tlii··•·m
                           Transaction
                                                                                                  Delete                    A=•ptl
                           VlaARCOS
                                                                                                  Entire                    Approvo
                                            Process Order as Normal                               Order                      Orear




                                                                                                                CSRA
                                                                                                               Reports
                                                                                                              suspicious
                                                                                                               orders to
                                                                                                                 DEA
                                                                                -17 -
        Coovrioht 2007 - AmerisourceBeroen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeroen Corooration
CONFIDENTIAL                                                                                                                                 ABC-MSAGC00000117
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                ABDCMDL00000117
             Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 19 of 23. PageID #: 165902




                        Qtq$tQtrj~f:¢~ Qrg~f
                              · · · ···· · f
                 I                                                      _J_
                                                                                                  ·····c'I

     B~lqv,Jfrtj(e$hQI~                         Abovethres.Ho1a.
                                               ................ •· ..     ······




                1                                                        I
        R$iga$(#/$01p                          EfqJq Jotbc Re,vi~w
                                                                         I
                                                        ocRevrew
                                                                         I
                                         I                                                                     I
                         . R~J~~~~,st11p                                               ..
                                                                                                 . EfqJ,q{p{          . ··· ..,
                                                                                                                                             cancel ·
                                                                                                                                             ................

                        . R~PPrt tq ¢.s~ ...                                       I
                                                                                       ii.:::
                                                                                                csRA;. Review                         . . f{epod t.o G$B..f\


                                     : •••...........•.................................................. 1,
                                                                                                                                           O.SRA Review
                                                                                                                                                         I
                                                                                                                                  I
                                                                                                                                                                c. . .... Reppij   tp osi\ .
                                                                                                                                                                                   I


                                                                                                                      R¢1~a$¢!$~~P
                                                                                                                                                                f ..... and1f:nyest(gate .
                                                                                                             - 18 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Coroora1ion
CONFIDENTIAL                                                                                                                                                             ABC-MSAGC00000118
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                            ABDCMDL00000118
            Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 20 of 23. PageID #: 165903




    Order Monitoring Program (OMP)

          ~ A Distributor can't solely rely on computer
           systems and programs to prevent diversion.

          ~ All employees have a role and responsibility in a
           successful Order Monitoring Program:
              -Sales
              - Procurement
              -Management (DC I HQ)
              -Order fillers
              -Customer service
              -IT



                                                                              - 19 -
       Coovriaht 2007 -AmerisourceBeraen - Not to be duolicated in whole or in nart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                               ABC-MSAGC00000119
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                              ABDCMDL00000119
                                        - ·--- -     - -


            Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 21 of 23. PageID #: 165904




    Investigations
            ~ Sources of Investigations
              -Order Monitoring Program (OMP)
              -Monthly Customer Product Mix/Ratio Report
              - Notification by DEA
              - Notification by ABC DC Personnel

            ~ Typical Investigation Process
               -One-year purchase history
               -On-site inspection
                 -CSRA Form 590 Pharmacy Questionnaire
                 -CSRA Form 590c Retail Pharmacy Verification Checklist

            ~ Decision
              -Cease distribution of CS/LC to customer
              -Customer Sign applicable compliance agreement
                                                                               -20 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000120
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000120
            Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 22 of 23. PageID #: 165905




    Education and Training
        ~ All appropriate associates are trained on ABC's Diversion
         Control Program

        ~ ABC also holds training and educational courses for its
         customers and vendors regarding this subject matter.




                                                                               - 21 -
       Coovriaht 2007 - AmerisourceBeraen - Not to be duolicated in whole or in cart without the exoress written oermission of AmerisourceBeraen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000121
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000121
            Case: 1:17-md-02804-DAP Doc #: 1964-77 Filed: 07/23/19 23 of 23. PageID #: 165906




                                                                                     D

                                                                                              0                                 D



                                                                               -22 -
       Coovrioht 2007 - AmerisourceBeroen - Not to be duolicated in whole or in oart without the exoress written oermission of AmerisourceBeroen Corooration
CONFIDENTIAL                                                                                                                                ABC-MSAGC00000122
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                               ABDCMDL00000122
